        Case:18-10965-TBM Doc#:46 Filed:03/11/18                              Entered:03/11/18 23:29:49 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: spressera                    Page 1 of 1                          Date Rcvd: Mar 09, 2018
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 11, 2018.
db             +11380 SMITH RD LLC,   11380 Smith Road,   Aurora, CO 80010-1406

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 11, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 9, 2018 at the address(es) listed below:
              Daniel J. Morse    on behalf of U.S. Trustee   US Trustee daniel.j.morse@usdoj.gov
              Jeffrey Weinman     on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner    on behalf of U.S. Trustee   US Trustee Samuel.Boughner@usdoj.gov
              Scott Calvin James    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               scott.james@moyewhite.com, brooke.somerville@moyewhite.com
              Timothy M. Swanson    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               tim.swanson@moyewhite.com, audra.duzenack@moyewhite.com;Melissa.dymerski@moyewhite.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 6
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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Thomas B. McNamara


     In re:
                                                       Bankruptcy Case No. 18-10965 TBM
     11380 SMITH RD LLC,                               Chapter 11

     Debtor.
   _______________________________________________________________________________

               ORDER GRANTING MOTION FOR ORDER AUTHORIZING
          EXAMINATION OF DEBTOR PURSUANT TO FED. R. BANKR. P. 2004
   _______________________________________________________________________________

          On March 6, 2018, 11380 East Smith RD Investments, LLC (the “Movant”), filed a “Ex Parte
   Motion for Rule 2004 Examination of Debtor 11380 Smith Road, LLC” (Docket No. 32, “the Motion”).
   The Court, having considered the Motion, hereby

          ORDERS that the Movant is authorized to conduct the requested examination of the Debtor, 11380
   Smith Rd, LLC, pursuant to Fed. R. Bankr. P. 2004 and L.B.R. 2004-1. The Court

         FURTHER ORDERS that the Movant may compel the attendance of witnesses and production of
   documents in the manner prescribed by Fed. R. Bankr. P. 2004(c) and 9016.

          DATED this 9th day of March, 2018.
                                                        BY THE COURT:


                                                        Thomas B. McNamara,
                                                        United States Bankruptcy Judge
